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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JARED L. TAYLOR                      :             CIVIL ACTION
                                     :
          v.                         :
                                     :
RYDER TRUCK RENTAL INC.,             :             NO. 19-1068
et al.

                                  ORDER

          AND NOW, this 13th day of June, 2019, after a

telephone conference with counsel and for the reasons set forth

in the foregoing Memorandum, it is hereby ORDERED that this

action is transferred, in the interest of justice, pursuant to

28 U.S.C. § 1406(a), to the United States District Court for the

Western District of Pennsylvania.

                                         BY THE COURT:



                                         /s/ Harvey Bartle III
                                                                     J.
